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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0715V
                                        (not to be published)


    RILEY SCHUBERT,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: June 24, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Diana Lynn Stadelnikas, Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On May 15, 2019, Riley Schubert 2 filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 3 (the
“Vaccine Act”). Petitioner alleges that he suffered injuries, including vasovagal syncope
resulting in hearing loss from a temporal skull fracture, as a result of a human
papillomavirus vaccine he received on September 12, 2016. (Petition at 1). On December


1 Because this unpublished Decision contains a reasoned explanation for the action in this case, I am

required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  The petition was originally filed by Anne Schubert on behalf of Riley Schubert, as Riley Schubert was a
minor at the time the petition was filed.

3
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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23, 2021, a decision was issued awarding compensation to Petitioner based on the
parties’ stipulation. (ECF No. 56).

       Petitioner has now filed a motion for attorney’s fees and costs, dated May 11, 2022,
(ECF No. 61), requesting a total award of $92,304.17 (representing $91,415.80 in fees
and $888.37 in costs). In accordance with General Order No. 9, Petitioner filed a signed
statement indicating that Petitioner incurred no out-of-pocket expenses. (ECF No. 61-3).
Respondent reacted to the motion on May 25, 2022, indicating that he is satisfied the
statutory requirements for an award of attorneys’ fees and costs are met in this case,
deferring resolution of the amount to be awarded to my discretion. (ECF No. 62).
Petitioner filed a reply on May 26, 2022, requesting the fees and costs be awarded in full.
(ECF No. 63).

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $92,304.17 (representing $91,415.80 in fees and $888.37 in costs) as a
lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel. Per
Petitioner’s request, the check should be forward to Maglio Christopher & Toale,
1605 Main Street, Suite 710, Sarasota Florida 34236. In the absence of a timely-filed
motion for review (see Appendix B to the Rules of the Court), the Clerk shall enter
judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
